                                                                                  U.~. DISTRICT COURT
                                                           EASTERN
              Case 4:11-cr-00209-JM Document 778 Filed 03/11/13    DISTRICT
                                                                Page 1 of 2 OF ARKANSAS
                                                                                         FILED
PS 42                                                                                    MAR 11 2013
(Rev 07/93)
                                                                                IN OPEN COURT
                                                                          JAMES W. McCORMACK, CLERK
                                 United States District Court              BY:       S \J~
                                                                                     DEPUTY CLERK
                                   Eastern District of Arkansas

 United States of America                       )
                                                )
           vs                                   )
 Edwin LeEarl Sims                              )
                                                )     Case No. 4:11CR00209-30
                     CONSENT TO MODIFY CONDITIONS OF RELEASE

I, Edwin Sims, have discussed with Michelle R. Sims, Pretrial Services/Probation Officer,
modification of my release as follows:

It is respectfully recommended the defendant's pretrial bond conditions requiring the defendant to
reside with his sister, Wanda Sims, in West Helena, Arkansas, upon completion of residential
treatment, as well as the bond condition requiring home detention with no electronic monitoring,
be removed. The defendant successfully completed residential drug treatment followed by Chern
Free Living in Jonesboro, Arkansas. He has not received a positive drug test during his term of
supervision and has remained compliant throughout his supervision period. In addition, he was
able to establish full time employment while a resident in Chern Free Living in Jonesboro, and
desires to continue residency in this area. As such, these bond conditions could be considered no
longer relevant to Mr. Sims' supervision.

I consent to this modification of my release conditions and agree to abide by this modification.


                                    ,?;2o-;3~0Un5
  Signature of Defendant              Date          Pretnal Services/Pro at10n Officer



I hav~ reviewed the conditions with my client and concur that this modification is appropriate.



                                                          Date


~·The above modification of conditions of release is ordered, to be effective on 5//1/'Ja~
[ ]       The above modification of conditions of release is not ordered.
Case 4:11-cr-00209-JM Document 778 Filed 03/11/13 Page 2 of 2




                                     ~ [ ct } r )
                                   Date
